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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION )
                                   )
v.                                 )                     ​Civil Action No. 17-CV-4179
                                   )
ALPINE SECURITIES CORPORATION       )                                                           EXHIBIT




                                                                                                          exhibitsticker.com
                           DECLARATION OF ERIC M. TURNBAUGH                                        5

       I, Eric M. Turnbaugh, declare as follows:

       1. I am the general manager of Cavalier Courier & Process Service ("CCPS"). I have worked

in that capacity since December 2012. The United States Securities and Exchange Commission

("SEC") contracts with CCPS to provide process service nationwide and has done so since

September 2015. CCPS accomplishes this task through various employees and subcontractors

across the United States. In my capacity as general manager, I am responsible for and familiar with

material aspects of CCPS's performance under its contract with the SEC.

       2. I make this declaration to report on CCPS's diligent efforts to serve John Hurry (“Hurry”)

with a Rule 45 subpoena in this matter. The statements contained herein are based upon my

personal knowledge and information provided to me in my professional capacity. My declaration

does not purport to set forth a comprehensive record of all of CCPS’s efforts to serve Hurry.

       3. The SEC originally tasked CCPS with serving Hurry on March 13, 2018, providing

addresses of                   , Glenbrook, NV and                   , Paradise Valley, AZ.

       4. CCPS pursued service at                     , Glenbrook, NV but found the property

buried under undisturbed snow. It was apparent that no one had gone in or out of the property in

some time.

       5. CCPS pursued service at                  , Paradise Valley, AZ. Packages addressed to

various relatives of John Hurry were outside but appeared to have been sitting overnight. A worker
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at a vacant property across the street stated that he usually saw activity at     , but had not seen

anyone there for a few days. When shown photographs of Hurry, the worker could not recall

whether or not he had seen Hurry recently at the property.

       6. CCPS pursued service at                               , Paradise Valley, AZ because the

property is owned by an LLC connected to Hurry. However, the address was visibly vacant.

       7. CCPS observed the office of Scottsdale Capital Advisors, 7170 E McDonald Road,

Scottsdale, AZ for some time to see if Hurry would appear. Hurry did not appear. CCPS made

contact with an employee. The employee alleged that Hurry was not currently in the office and in

fact is rarely in the office. The employee also alleged that Hurry lives out of state.

       8. CCPS pursued service at                    , Pompano Beach, FL because the property is

owned by “John and Justine Hurry.” It appeared that no one was at the residence. Multiple

neighbors alleged that Hurry rents out the property short-term via Airbnb and does not regularly

spend time there. One neighbor said Hurry was last at the property "eight months" ago and noted

that Hurry claimed to be going through a divorce.

       9. On March 14, 2018 the SEC told CCPS to stand down.

       10. On March 22, 2018 the SEC told CCPS to again pursue service on Hurry.

       11. CCPS pursued service again at                        , Glenbrook, NV with similar results.

Approximately eight more inches of snow had fallen.

       12. CCPS pursued service again at                     , Pompano Beach, FL with similar results.

       13. CCPS pursued service again at                     , Paradise Valley, AZ and spoke to

Justine Hurry. Justine alleged that she and the witness were separated and that he does not live at

                , though he “comes and goes as he pleases.” She alleged he was not currently at the

property and declined to provide further information.
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       14. CCPS pursued service again at Scottsdale Capital Advisors, 7170 E McDonald Road,

Scottsdale, AZ. Hurry was again not at the office, but the company’s general counsel offered to

accept the subpoena on Hurry’s behalf. The process server left a courtesy copy of the subpoena with

general counsel.

       15. On March 30, 2018 the SEC told CCPS to stand down.

       I declare under penalty of perjury that the foregoing is true and correct. Executed at Norfolk,

Virginia on July 11, 2019.


                                                            _________________________
                                                            Eric M. Turnbaugh
                                                            General Manager
                                                            Cavalier Courier & Process Service
                                                            823 S. King Street, Suite C
                                                            Leesburg, VA 20175
                                                            (703) 431-7085
